      Case 3:06-cr-01147-GMS Document 206 Filed 06/24/22 Page 1 of 1



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                          No. CR-06-1147-PCT-GMS
10                         Plaintiff,                   DETENTION ORDER
11   v.
12   Gentry Dee Deel,
13                         Defendant.
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15           On June 24, 2022, Defendant appeared before this Court on a petition for revocation
16   of supervised release. A detention hearing was held. The Court considered the information
17   provided to the Court and the arguments of counsel in determining whether Defendant
18   should be released on conditions set by the Court.
19           The Court finds that Defendant, having previously been convicted and placed on
20   supervised release, and having appeared before the Court in connection with a petition to
21   revoke his supervised release, has failed to establish by clear and convincing evidence that
22   he is not likely to flee or pose a danger to the safety of the community if released pursuant
23   to Rule 46(d), and Rule 32.1(a)(6), Federal Rules of Criminal Procedure, and 18 U.S.C. §
24   3143.
25           IT IS THEREFORE ORDERED that Defendant be detained pending further
26   proceedings.
27           Dated this 24th day of June, 2022.
28
                                                        Honorable Eileen S. Willett
                                                        United States Magistrate Judge
